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 1   David Richardson, OSB 051370
     david@pdxlawgroup.com
 2   PDX LAW GROUP PC
     121 SW Morrison St., Ste. 1520
 3   Portland, OR 97204
     (ph) 503-546-0141
 4   Attorneys for Plaintiff

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 6                                  UNITED STATES DISTRICT COURT
 7                          DISTRICT OF OREGON, PORTLAND DIVISION
 8   ANGELA TORRES, an individual,                            Case no.: 3:17-CV-01270-AC
 9                            Plaintiff,                      JOINT STATUS REPORT
10           v.

11   ALIREZA ZAMANIZADEH, a/k/a ALI
     ZAMANI, an individual, and ADULT CARE
12   SEARCH, a foreign non-profit corporation,

13                            Defendants.

14           This is a Joint Status Report as requested at the August 2nd, 2018 Status Conference

15   Hearing in front of Judge Acosta. Both parties represent that they continue to discuss settlement

16   terms and anticipate either settling this matter in the near future or seeking abatement of this case

17   while the concurrent case in Deschutes County State Court is resolved. As such, the parties

18   would request postponing of a scheduling order at this time.

19           DATED August 1st, 2018

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21   /s David Richardson                                 /s/ Alireza Zamanizadeh
     David Richardson, OSB 051370                        Alireza Zamanizadeh
22   david@pdxlawgroup.com                               Pro Se Defendant in his invidiual capacity and also
     Attorneys for Plaintiff                             on behalf of Adult Care Search
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